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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------x
E. JEAN CARROLL,

                            Plaintiff,


             -against-                                                        20-cv-7311 (LAK)


DONALD J. TRUMP,

                     Defendant.
------------------------------------------x


                      MEMORANDUM OPINION DENYING
                DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
                                (Corrected)


                    Appearances:


                                           Roberta Kaplan
                                           Joshua Matz
                                           Shawn Crowley
                                           Matthew Craig
                                           Trevor Morrison
                                           Michael Ferrara
                                           KAPLAN HECKER & FINK LLP

                                           Attorneys for Plaintiff

                                           Alina Habba
                                           Michael T. Madaio
                                           HABBA MADAIO & ASSOCIATES LLP

                                           Attorneys for Defendant



LEWIS A. KAPLAN, District Judge.

             This is a defamation case brought by writer E. Jean Carroll against President Donald
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                                                                                                            2

Trump, as he then was, for statements Mr. Trump made in June 2019 shortly after Ms. Carroll

publicly accused him of sexual assault. In those statements, Mr. Trump denied Ms. Carroll’s

accusation, stated that he “has no idea who this woman is,” and suggested that she fabricated her

accusation for ulterior and improper purposes, including to increase sales of her then-forthcoming

book in which she discusses having been sexually assaulted by Mr. Trump and other men.

                In a second and very closely related case (“Carroll II”), Ms. Carroll sued Mr. Trump

for the alleged sexual assault itself and for defamation based on a statement that Mr. Trump

published on his social media platform in October 2022 that was substantially similar to his June

2019 statements. That case was tried in April and May 2023. The jury unanimously found that Mr.

Trump had sexually abused Ms. Carroll and defamed her in his October 2022 statement.1 It awarded

Ms. Carroll a total of $5 million in compensatory and punitive damages: $2.02 million for her sexual

assault claim, and $2.98 million for her defamation claim.2

                In this case (“Carroll I”), Ms. Carroll seeks damages and other relief for defamation


       1

                It found also that Ms. Carroll had not established that Mr. Trump “raped” her within the
                relevant definition of that term in the New York Penal Law.
       2

                The Court assumes familiarity with its prior decisions, which describe in detail the facts and
                procedural histories of both cases. Dkt 32, Carroll v. Trump, 498 F. Supp. 3d 422 (S.D.N.Y.
                2020), rev’d in part, vacated in part, 49 F.4th 759 (2d Cir. 2022); Dkt 73, Carroll v. Trump,
                590 F. Supp. 3d 575 (S.D.N.Y. 2022); Dkt 96, Carroll v. Trump, No. 20-cv-7311 (LAK),
                2022 WL 6897075 (S.D.N.Y. Oct. 12, 2022); Dkt 145, Carroll v. Trump, No. 20-cv-7311
                (LAK), 2023 WL 2441795 (S.D.N.Y. Mar. 10, 2023); Doc. No. 22-cv-10016 (Carroll II),
                Dkt 38, Carroll v. Trump, No. 22-cv-10016 (LAK), 2023 WL 185507 (S.D.N.Y. Jan. 13,
                2023); Carroll II, Dkt 56, Carroll v. Trump, No. 22-CV-10016 (LAK), 2023 WL 2006312
                (S.D.N.Y. Feb. 15, 2023); Carroll II, Dkt 92, Carroll v. Trump, No. 22-CV-10016 (LAK),
                2023 WL 3000562 (S.D.N.Y. Mar. 20, 2023); Carroll II, Dkt 95, Carroll v. Trump, No.
                22-cv-10016 (LAK), 2023 WL 2652636 (S.D.N.Y. Mar. 27, 2023); Carroll II, Dkt 96,
                Carroll v. Trump, No. 22-CV-10016 (LAK), 2023 WL 2669790 (S.D.N.Y. Mar. 28, 2023).

                Except where preceded by “Carroll II”, “Dkt” references are to the docket in this case.
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                                                                                                          3

for Mr. Trump’s June 2019 statements only.3 The matter now is before me on Mr. Trump’s motion

for summary judgment dismissing the action on four grounds:

                (1)     Mr. Trump is entitled to absolute presidential immunity

                (2)     Mr. Trump’s statements were not defamatory per se and Ms. Carroll cannot

                        establish special damages

                (3)      the majority of Mr. Trump’s statements were nonactionable opinion

                (4)     Ms. Carroll consented to Mr. Trump’s allegedly defamatory statements.4

He argues also that punitive damages in any case would be unwarranted on Ms. Carroll’s defamation

claim. His arguments are without merit.



                                                  Facts

Mr. Trump’s Allegedly Defamatory June 2019 Statements

                Ms. Carroll’s accusation that Mr. Trump sexually assaulted her first became public

on June 21, 2019, when New York magazine published on the Internet an excerpt from her then-

forthcoming book in which Ms. Carroll described Mr. Trump’s alleged assault of her, which she

referred to as “rape.” Over the next several hours and days, Mr. Trump issued three allegedly



       3

                When Ms. Carroll brought this lawsuit in 2019, she presumably was foreclosed from suing
                for sexual battery by New York’s then-existing statute of limitations. As noted above, the
                Adults Survivors Act enacted by New York in 2022 temporarily revived the ability to bring
                such claims without regard to the otherwise applicable statute of limitations. She therefore
                was permitted to bring that claim in her second lawsuit now referred to as Carroll II.
       4

                For avoidance of confusion: In his memorandum, Mr. Trump argues what is identified as
                ground four here before what is identified as ground three here. This opinion discusses Mr.
                Trump’s arguments in the sequence noted above.
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                                                                                                          4

defamatory statements in response to Ms. Carroll’s accusation.



       Statement One

                Two hours and seventeen minutes after Ms. Carroll’s accusation became public, Mr.

Trump published this statement on Twitter5:

                        “Regarding the ‘story’ by E. Jean Carroll, claiming she once encountered me

                at Bergdorf Goodman 23 years ago. I’ve never met this person in my life. She is

                trying to sell a new book—that should indicate her motivation. It should be sold in

                the fiction section.

                        “Shame on those who make up false stories of assault to try to get publicity

                for themselves, or sell a book, or carry out a political agenda—like Julie Swetnick

                who falsely accused Justice Brett Kavanaugh. It’s just as bad for people to believe

                it, particularly when there is zero evidence. Worse still for a dying publication to try

                to prop itself up by peddling fake news—it’s an epidemic.

                        “Ms. Carroll & New York Magazine: No pictures? No surveillance? No

                video? No reports? No sales attendants around?? I would like to thank Bergdorf

                Goodman for confirming that they have no video footage of any such incident,

                because it never happened.

                        “False accusations diminish the severity of real assault. All should condemn

                false accusations and any actual assault in the strongest possible terms.


       5

                Mr. Trump testified in his deposition that he provided the statement to his staff to give to
                the press. Dkt 135-3 (Def. Dep.) at 59:20-23.
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                                                                                                         5

                        “If anyone has information that the Democratic Party is working with Ms.

                Carroll or New York Magazine, please notify us as soon as possible. The world

                should know what’s really going on. It is a disgrace and people should pay dearly for

                such false accusations.”6



       Statement Two

                The next day, Mr. Trump made the following comments that were reported in the

national press and published in a White House press release entitled “Remarks by President Trump

Before Marine One Departure” issued on June 22, 2019:

                        “[Reporter]: [Y]ou had said earlier that you never met E. Jean Carroll. There

                was a photograph of you and her in the late 1980’s—

                        “[Trump]: I have no idea who this woman is. This is a woman who has also

                accused other men of things, as you know. It is a totally false accusation. I think she

                was married—as I read; I have no idea who she is—but she was married to a,

                actually, nice guy, Johnson—a newscaster.

                        “[Reporter]: You were in a photograph with her.

                        “[Trump]: Standing with coat on in a line—give me a break—with my back

                to the camera. I have no idea who she is. What she did is—it’s terrible, what’s going


       6

                Dkt 157-1 (Pl. Amend. Compl.) at 15-16, ¶ 83.

                On June 13, 2023, this Court granted Ms. Carroll’s motion to amend her complaint. The
                amended complaint did not add any new claims or otherwise change the focus of her
                original complaint. Unless indicated otherwise, citations to Ms. Carroll’s complaint are to
                the amended complaint.
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                                                                                          6

     on. So it’s a total false accusation and I don’t know anything about her. And she’s

     made this charge against others.

            “And, you know, people have to be careful because they’re playing with very

     dangerous territory. And when they do that—and it’s happening more and more.

     When you look at what happened to Justice Kavanaugh and you look at what’s

     happening to others, you can’t do that for the sake of publicity.

            “New York Magazine is a failing magazine. It’s ready to go out of business,

     from what I hear. They’ll do anything they can. But this was about many men, and

     I was one of the many men that she wrote about. It’s a totally false accusation. I have

     absolutely no idea who she is. There’s some picture where we’re shaking hands. It

     looks like at some kind of event. I have my coat on. I have my wife standing next to

     me. And I didn’t know her husband, but he was a newscaster. But I have no idea who

     she is—none whatsoever.

            “It’s a false accusation and it’s a disgrace that a magazine like New

     York—which is one of the reasons it’s failing. People don’t read it anymore, so

     they’re trying to get readership by using me. It’s not good.

            “You know, there were cases that the mainstream media didn’t pick up. And

     I don’t know if you’ve seen them. And they were put on Fox. But there were

     numerous cases where women were paid money to say bad things about me. You

     can’t do that. You can’t do that. And those women did wrong things—that women

     were actually paid money to say bad things about me.
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                                                                                                      7

                         “But here’s a case, it’s an absolute disgrace that she’s allowed to do that.”7



       Statement Three

                Finally, on June 24, 2019, Mr. Trump stated in an interview with the newspaper The

Hill: “I’ll say it with great respect: Number one, she’s not my type. Number two, it never happened.

It never happened, OK?”8



Ms. Carroll’s Defamation Claim

                Ms. Carroll initiated this lawsuit against Mr. Trump in November 2019 for defaming

her in these statements. The case originally began in a state court in New York before being removed

to this Court for reasons explained in the Court’s previous decisions.9 Ms. Carroll alleges that:

                         “When [her] account [of the alleged assault] was published, Trump lashed

                out with a series of false and defamatory statements. He denied the sexual assault.

                But there was more: he also denied ever having met Carroll or even knowing who she

                was. Through express statements and deliberate implications, he accused Carroll of

                fabricating her allegations in order to increase book sales, carry out a political

                agenda, advance a conspiracy with the Democratic Party, and make money. He also


       7

                Id. at 18, ¶ 92.
       8

                Id. at 20, ¶ 98.
       9

                E.g., Carroll v. Trump, No. 22-CV-10016 (LAK), 2023 WL 2006312, at *4 (S.D.N.Y. Feb.
                15, 2023); Carroll v. Trump, 498 F. Supp. 3d 422 (S.D.N.Y. 2020), rev’d in part, vacated
                in part, 49 F.4th 759 (2d Cir. 2022), remanded in part, 66 F.4th 91 (2d Cir. 2023).
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               deliberately implied that she had falsely accused other men of assault. For good

               measure, he insulted her physical appearance.”10

               The core of Ms. Carroll’s defamation claim is that Mr. Trump lied in accusing her

of fabricating her sexual assault allegation against him in order to increase sales of her book and for

other improper purposes and that he thus caused Ms. Carroll professional and reputational harm as

well as emotional pain and suffering.



Mr. Trump’s Answer

               In his formal answer to Ms. Carroll’s complaint, which originally was filed in state

court in February 2020, Mr. Trump raised nine affirmative defenses, including as relevant here that:

               •       “[t]he [c]omplaint fails to state a cause of action,”

               •       “Plaintiff’s claim is barred because defendant is immune, under the

                       Supremacy Clause of the United States Constitution, from suit in state court

                       while serving as President of the United States,”

               •       “[t]he allegedly defamatory statements are privileged or protected by one or

                       more immunities, including, but not limited to, under the Constitution of the

                       United States,”

               •       “Plaintiff is not entitled to punitive damages as a matter of law,”

               •       “Plaintiff has not sufficiently alleged defamation per se,” and




       10

               Dkt 157-1 (Pl. Amend. Compl.) at 3, ¶ 11.
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               •       “Plaintiff has failed to plead damages with the required specificity.”11

Noticeably missing from this list is any mention of the absolute presidential immunity defense that

Mr. Trump now asserts for the first time.12



                                              Discussion

Legal Standard

               The standards for summary judgment are well established. In brief:

                       “Summary judgment may be granted only where there is no genuine issue as

               to any material fact and the moving party . . . is entitled to a judgment as a matter of

               law. . . . In ruling on a motion for summary judgment, a court must resolve all

               ambiguities and draw all factual inferences in favor of the nonmoving party. . . . To

               grant the motion, the court must determine that there is no genuine issue of material

               fact to be tried. . . . The Supreme Court teaches that ‘all that is required [from a

               nonmoving party] is that sufficient evidence supporting the claimed factual dispute

               be shown to require a jury or judge to resolve the parties’ differing versions of the

               truth at trial.’ . . . It is a settled rule that ‘[c]redibility assessments, choices between

               conflicting versions of the events, and the weighing of evidence are matters for the




       11

               Dkt 14-69 (Def. Answer).
       12

               Nor did Mr. Trump seek to add this defense to his answer when he moved to amend his
               answer in January 2022 to add an affirmative defense and counterclaim based on New
               York’s “anti-SLAPP” law. Dkt 63.
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                                                                                                      10

               jury, not for the court on a motion for summary judgment.’”13

“A material fact is one that might ‘affect the outcome of the suit under the governing law,’ and a

dispute about a genuine issue of material fact occurs if the evidence is such that ‘a reasonable [fact

finder] could return a verdict for the nonmoving party.’”14



Ground One: Absolute Presidential Immunity

               In Nixon v. Fitzgerald,15 the Supreme Court held that the President of the United

States is entitled to “absolute Presidential immunity from damages liability for acts within the ‘outer

perimeter’ of his official responsibility.”16 Mr. Trump argues that the allegedly defamatory

statements in this case came within this “outer perimeter” because he made those statements “in

direct response to Plaintiff’s allegations which impugned his character and, in turn, threatened his

ability to effectively govern the nation.”17

               Before the Court even may address the merits of Mr. Trump’s absolute immunity

defense, it must decide a threshold question: whether Mr. Trump is barred from raising this defense



       13

               McClellan v. Smith, 439 F.3d 137, 144 (2d Cir.2006) (alterations in original) (citations
               omitted).
       14

               Madison Nat. Life Ins. Co. v. Travelers Prop. Cas. Co. of Am., 462 F. App’x 102, 103–04
               (2d Cir. 2012) (alteration in original) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S.
               242, 248 (1986)).
       15

               457 U.S. 731 (1982).
       16

               Id. at 756.
       17

               Dkt 109 (Def. Mem.) at 17.
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                                                                                                         11

because he waived it by failing to raise it earlier. Mr. Trump does not dispute that, under the

controlling rules of civil procedure, he waived the defense by failing to plead it as an affirmative

defense in his answer.18 Instead, he contends that any such waiver can have no effect because

absolute presidential immunity is an unwaivable obstacle to any court exercising subject matter

jurisdiction over any claim within its ambit. In the alternative, if the Court determines that absolute

presidential immunity can be waived, Mr. Trump argues that his motion for summary judgment

should be construed as a motion for leave to amend his answer so that he can assert the absolute

immunity defense. Neither argument is persuasive.



       Absolute Presidential Immunity Can Be Waived

               Mr. Trump argues that “whether presidential immunity applies in this case is a non-

waivable question of subject matter jurisdiction.”19 His argument relies on the theory that absolute

presidential immunity is non-waivable because it is different from absolute immunity available to

judges and prosecutors – which decidedly is waivable – due to what he claims, mistakenly, is “its




       18

               In the table of contents to Mr. Trump’s reply brief, the first argument heading reads:
               “Defendant did not waive his entitlement to presidential immunity.” Dkt 122 (Def. Reply
               Mem.) at i. However, that heading never reappears in his brief. Instead, the first heading of
               his argument section is “Presidential immunity cannot be waived,” followed by his argument
               that Ms. Carroll’s claim that he waived his absolute immunity defense by failing to raise it
               in his answer “is flawed in its premise” because absolute presidential immunity is not
               waivable. Id. at 1. In a recent letter, Mr. Trump again did not dispute that he waived the
               defense and instead wrote that he “unequivocally stated that absolute immunity is a
               non-waivable question of subject matter jurisdiction.” Dkt 160 at 2. It accordingly is clear
               that Mr. Trump does not dispute that if absolute presidential immunity can be waived, he
               in fact waived it in this case.
       19

               Dkt 122 (Def. Reply Mem.) at 5.
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                                                                                                           12

unique rooting in the separation of powers doctrine.”20

               Absolute presidential immunity is no such anomaly. There is nothing so exceptional

about absolute immunity available to a president that makes it non-waivable unlike other types of

absolute immunity. For starters, “[m]ost immunities are affirmative defenses.”21 Failure to assert

an affirmative defense, including absolute immunity, in an answer or other responsive pleading

results in waiver of that defense.22 Moreover, as the Supreme Court has stated, “[t]here is no

       20

               Id. at 1.
       21

               In re Stock Exchanges Options Trading Antitrust Litig., 317 F.3d 134, 151 (2d Cir. 2003).
               See also San Filippo v. U.S. Tr. Co. of New York, 737 F.2d 246, 252 (2d Cir. 1984) (“In their
               answer and amended answer, defendants asserted several affirmative defenses, including
               their absolute immunity from § 1983 liability for their grand jury testimony or prior
               discussions with the prosecutor.”).
       22

               As noted above, Mr. Trump’s answer first was filed in a state court in New York before this
               case was removed to this Court. Assuming his answer was governed by New York’s Civil
               Practice Law and Rules, he was required to plead absolute immunity as an affirmative
               defense in his answer or in a pre-answer motion. N.Y. CPLR § 3018(b) (“A party shall
               plead all matters which if not pleaded would be likely to take the adverse party by surprise
               or would raise issues of fact not appearing on the face of a prior pleading.”); Pitts v. State,
               166 A.D.3d 1505, 1506 (4th Dept. 2018) (“Defendant waived that affirmative defense [of
               governmental function immunity] inasmuch as defendant did not plead it in its amended
               answer.”) (citing cases).

               The result would be the same if Mr. Trump’s answer were governed by Federal Rule of
               Civil Procedure 8(c), which requires a party to “affirmatively state any . . . affirmative
               defense” in responding to a pleading. E.g., 5 C. WRIGHT, A. MILLER & E. COOPER, FEDERAL
               PRACTICE AND PROCEDURE § 1278 (4th ed.) (“It is a frequently stated proposition of
               virtually universal acceptance by the federal courts that a failure to plead an affirmative
               defense as required by [Rule] 8(c) results in the waiver of that defense and its exclusion
               from the case.”) (citing cases); Beechwood Restorative Care Ctr. v. Leeds, 436 F.3d 147,
               154 n.3 (2d Cir. 2006) (“Appellees mention an absolute immunity defense in passing, but
               that defense is considered waived since it only appears in a footnote. . . . And we decline
               to overlook the waiver.”); Desi's Pizza, Inc. v. City of Wilkes-Barre, 321 F.3d 411, 428 (3d
               Cir. 2003) (“Absolute immunity is an affirmative defense that should be asserted in an
               answer.”); Collyer v. Darling, 98 F.3d 211, 222 (6th Cir. 1996) (“It is well established that
               unless affirmatively pleaded, the defenses of qualified and absolute immunity are waived.”);
               Bentley v. Cleveland Cnty. Bd. of Cnty. Comm’rs, 41 F.3d 600, 604 (10th Cir. 1994) (“[T]his
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                                                                                                        13

authority whatever for the proposition that absolute- and qualified-immunity defenses pertain to the

court’s jurisdiction.”23 To prevail in his argument, Mr. Trump must demonstrate that absolute

immunity available to a president deviates from these well-settled norms. He has not done so.

                The focal point of Mr. Trump’s reasoning is the foundation of absolute presidential

immunity in separation of powers principles. His argument goes: (1) absolute presidential immunity

is grounded in the separation of powers doctrine, (2) “the separation of powers doctrine is a creature

of Article III standing” and “Article III standing, in turn, is an issue of subject matter jurisdiction,”24

and (3) absolute presidential immunity therefore is an unwaivable obstacle to the exercise of subject

matter jurisdiction. His theory fails for two reasons. First, absolute presidential immunity is not the

only type of absolute immunity that raises separation of powers concerns. Second, and more

importantly, “separation of powers” is not a magic phrase that automatically transforms any issue

it touches into an impediment to the exercise of subject matter jurisdiction. Indeed, a determination

that absolute presidential immunity is an issue of subject matter jurisdiction would present its own

separation of powers concerns and contravene many of the same principles that underpin absolute

presidential immunity.

                The Supreme Court in Nixon v. Fitzgerald determined that absolute presidential



                Court has long held that both qualified and absolute immunity are affirmative defenses that
                must be pleaded.”); Cozzo v. Tangipahoa Par. Council--President Gov't, 279 F.3d 273, 283
                (5th Cir. 2002) (“Absolute immunity is an affirmative defense that is waived if it is not
                pleaded.”).
        23

                Nevada v. Hicks, 533 U.S. 353, 373 (2001). See also Mordkofsky v. Calabresi, 159 F. App’x
                938, 939 (11th Cir. 2005) (“[J]udicial immunity is an affirmative defense and does not
                divest the court of subject matter jurisdiction.”).
        24

                Dkt 122 (Def. Reply Mem.) at 3.
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                                                                                                    14

immunity is “a functionally mandated incident of the President’s unique office, rooted in the

constitutional tradition of the separation of powers and supported by our history.”25 In reaching its

decision, the Court discussed common law precedents that recognized immunity for government

officials, including absolute immunity for judges and prosecutors.26 These precedents, the Court

noted, “have been guided by the Constitution, federal statutes, and history” and “at least in the

absence of explicit constitutional or congressional guidance,” they “have been informed by the

common law.”27 With respect to absolute presidential immunity, the Court explained:

                       “Because the Presidency did not exist through most of the development of

               common law, any historical analysis must draw its evidence primarily from our

               constitutional heritage and structure. Historical inquiry thus merges almost at its

               inception with the kind of ‘public policy’ analysis appropriately undertaken by a

               federal court. This inquiry involves policies and principles that may be considered

               implicit in the nature of the President’s office in a system structured to achieve

               effective government under a constitutionally mandated separation of powers.”28

               The heart of the separation of powers doctrine invoked in Fitzgerald is respect for the

independence of the three branches of government. “In the often-quoted words of Justice Jackson:

‘While the Constitution diffuses power the better to secure liberty, it also contemplates that practice


       25

               457 U.S. at 749.
       26

               Id. at 744-48.
       27

               Id. at 747.
       28

               Id. at 748.
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                                                                                                         15

will integrate the dispersed powers into a workable government. It enjoins upon its branches

separateness but interdependence, autonomy but reciprocity.’”29 Accordingly, one of the central

bases justifying absolute judicial immunity is the need to protect the “independence without which

no judiciary can be either respectable or useful.”30 Absolute prosecutorial immunity, although

perhaps a bit removed from the constitutional doctrine of separation of powers, similarly is rooted

in the “concern that harassment by unfounded litigation” could “shade [a prosecutor’s] decisions

instead of exercising the independence of judgment required by his public trust.”31 Given the

overlaps in reasoning, it is unsurprising that the Court in Fitzgerald compared explicitly the absolute

immunity it recognized for the president with that already recognized for judges and prosecutors.32

       29

               Morrison v. Olson, 487 U.S. 654, 694 (1988) (quoting Youngstown Sheet & Tube Co. v.
               Sawyer, 343 U.S. 579 (1952) (Jackson, J., concurring)).
       30

               Bradley v. Fisher, 80 U.S. 335, 347 (1871). See also id. (“If civil actions could be
               maintained in such cases against the judge, because the losing party should see fit to allege
               in his complaint that the acts of the judge were done with partiality, or maliciously, or
               corruptly, the protection essential to judicial independence would be entirely swept away.”).
       31

               Imbler v. Pachtman, 424 U.S. 409, 423 (1976).
       32

               457 U.S. at 758 (“For the President, as for judges and prosecutors, absolute immunity
               merely precludes a particular private remedy for alleged misconduct in order to advance
               compelling public ends.”); id. at 751-52 (“As is the case with prosecutors and judges— for
               whom absolute immunity now is established—a President must concern himself with
               matters likely to ‘arouse the most intense feelings.’) (citation omitted). See also Trump v.
               Vance, 140 S. Ct. 2412, 2426 (2020) (“We instead [(in Fitzgerald)] drew a careful analogy
               to the common law absolute immunity of judges and prosecutors, concluding that a
               President, like those officials, must ‘deal fearlessly and impartially with the duties of his
               office’—not be made ‘unduly cautious in the discharge of [those] duties” by the prospect
               of civil liability for official acts.’”) (quoting Fitzgerald, 457 U.S. at 751-752 & n.32).

               Perhaps aware of these comparisons, Mr. Trump does not argue specifically that absolute
               presidential immunity is distinct from absolute judicial and prosecutorial immunity by its
               foundation in separation-of-powers principles. Instead, he cites a footnote in Harlow v.
               Fitzgerald, in which the Supreme Court stated that “the recognition of absolute immunity
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                                                                                                          16

               Moreover, the fact that presidential immunity is grounded in separation of powers

principles does not convert it into a jurisdictional issue. Mr. Trump relies chiefly on two points in

support of his argument to the contrary. Neither withstands analysis.

               First, he quotes the following from Fitzgerald:

                       “[O]ur cases [] have established that a court, before exercising jurisdiction,

               must balance the constitutional weight of the interest to be served against the dangers

               of intrusion on the authority and functions of the Executive Branch. When judicial

               action is needed to serve broad public interests—as when the Court acts, not in

               derogation of the separation of powers, but to maintain their proper balance . . . or to

               vindicate the public interest in an ongoing criminal prosecution . . . the exercise of

               jurisdiction has been held warranted. In the case of [a] merely private suit for

               damages based on a President’s official acts, we hold it is not.”33

Mr. Trump’s selected passage, however, omits the sentence preceding it, that “[i]t is settled law that

the separation-of-powers doctrine does not bar every exercise of jurisdiction over the President of

the United States.”34 Even more to the point,“[j]urisdiction . . . is a word of many, too many,



               for all of a President’s acts in office derives in principal part from factors unique to his
               constitutional responsibilities and station. Suits against other officials—including
               Presidential aides—generally do not invoke separation-of-powers considerations to the same
               extent as suits against the President himself.” 457 U.S. 800, 811 n.17 (1982). Harlow,
               however, dealt with the scope of immunity available to aides and advisers of the President
               and held that presidential aides are entitled to qualified, rather than absolute, immunity. It
               therefore is inapposite here.
       33

               Dkt 122 (Def. Reply Mem.) at 2 (alterations in original) (emphasis omitted) (quoting
               Fitzgerald, 457 U.S. at 754).
       34

               Fitzgerald, 457 U.S. at 753-54.
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                                                                                                       17

meanings.”35 And the Court in Fitzgerald did not use the word “jurisdiction” in reference to a

federal court’s fundamental ability to adjudicate a case on its merits. Indeed, it there specifically left

unresolved the “the immunity question as it would arise if Congress expressly had created a damages

action against the President of the United States.”36 If the Court had understood presidential

immunity as a restriction on a court’s exercise of subject matter jurisdiction, there would have been

no need for the Court to have left that question open. The possibility would have been foreclosed by

the long-standing principle that Congress cannot expand the scope of federal courts’ jurisdiction

beyond what is permitted by Article III.37

                This detail helps to underscore the confusion in Mr. Trump’s second point that “the

separation of powers doctrine is a creature of Article III standing.”38 As the cases Mr. Trump quotes

make clear, it is Article III standing that “is built on separation-of-powers principles,” not vice

versa.39 Therefore, although Article III standing of course is an issue of subject matter jurisdiction,

it does not follow that the separation of powers doctrine in all circumstances is as well. Mr. Trump’s



        35

                Wilkins v. United States, 143 S. Ct. 870, 875 (2023) (quoting Arbaugh v. Y & H Corp., 546
                U.S. 500, 510 (2006)).
        36

                Fitzgerald, 457 U.S. at 748 n.27.
        37

                Marbury v. Madison, 5 U.S. 137, 138 (1803); Seminole Tribe of Fla. v. Fla., 517 U.S. 44,
                65 (1996); Garanti Finansal Kiralama A.S. v. Aqua Marine & Trading Inc., 697 F.3d 59,
                66 (2d Cir. 2012) (“Neither we nor Congress may [expand the federal courts’ subject matter
                jurisdiction], for the Constitution alone defines the outer limits of subject-matter
                jurisdiction.”).
        38

                Dkt 122 (Def. Reply Mem.) at 3.
        39

                Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013).
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argument in this respect lacks logical coherence and plainly is frivolous.

                More fundamentally, Mr. Trump’s argument that absolute presidential immunity is

jurisdictional runs afoul of many of the same principles on which the immunity is based. As the

Supreme Court stated in Clinton v. Jones,40 the “dominant concern [in Fitzgerald] was with the

diversion of the President’s attention during the decisionmaking process caused by needless worry

as to the possibility of damages actions stemming from any particular official decision.”41 The Court

was concerned with intruding on the president’s scope of authority and ability to make decisions to

govern effectively. It sought to protect the president’s autonomy, not diminish it by denying the

president the ability to choose whether or not to defend himself or herself in a civil lawsuit in federal

court. As law professor Akhil Amar and former Acting Solicitor General Neal Katyal wrote:

                        “[The president’s] immunity is of course waivable . Surely the President in

                whatever spare time he has should be allowed to litigate civil damage actions — or

                to watch basketball for that matter — but he should not be legally obliged to do

                either. As a practical matter, politics may sometimes create strong pressure to litigate

                now — or, again, to watch a basketball game — but political pressure should not be

                confused with legal obligation. In a civil damage action in the early 1960s,

                then-President John Kennedy asserted litigation immunity under a statute. When that

                failed, he settled the case instead of asserting presidential immunity . . . .”42

        40

                520 U.S. 681 (1997).
        41

                Id. at 694 n.19.
        42

                Akhil Reed Amar & Neal Kumar Katyal, Executive Privileges and Immunities: The Nixon
                and Clinton Cases, 108 HARV. L. REV. 701, 726 n.53 (1995).
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                                                                                                        19

Yet the rule Mr. Trump advocates would remove this choice from the president. Under Mr. Trump’s

approach, each time a president is sued in federal court, the court would be obligated to raise and

resolve the issue of absolute presidential immunity sua sponte and, if the defense applied, it would

be obligated to dismiss the case for want of subject matter jurisdiction even if the president wished

to litigate in that case. Such a requirement would contradict the results in many of the other civil

lawsuits filed against Mr. Trump for actions during his presidency, in at least one of which, as Ms.

Carroll points out, Mr. Trump agreed with the plaintiff that absolute presidential immunity was not

a “threshold issue[] that must be decided before reaching the merits.”43 More importantly, it would

risk encroachment by the judiciary into the president’s domain by eliminating the president’s ability

to choose. There is no indication in Fitzgerald or in its progeny that absolute presidential immunity

ever was meant to be so patronizing.



       Leave to Amend Mr. Trump’s Answer Is Not Warranted

               In the alternative, Mr. Trump argues that the Court should construe his motion for

summary judgment as a motion for leave to amend his answer to resurrect the previously waived

absolute presidential immunity defense. The standard governing this request is clear. Although Rule




       43

               K&D, LLC v. Trump Old Post Off., LLC, No. CV 17-731 (RJL), 2018 WL 6173449, at *3
               n.2 (D. D.C. Nov. 26, 2018), aff'd, 951 F.3d 503 (D.C. Cir. 2020) (emphasis omitted).

               There possibly is an argument that Mr. Trump is judicially estopped from taking the
               opposite position now in this case. See Clark v. AII Acquisition, LLC, 886 F.3d 261, 264 (2d
               Cir. 2018) (“[T]he equitable doctrine of judicial estoppel . . . ‘prevents a party from
               asserting a factual position in one legal proceeding that is contrary to a position that it
               successfully advanced in another proceeding.’”) (citation omitted). Given that neither party
               has briefed this issue and it is unnecessary to my decision, I do not address it here.
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15(a) provides that leave to amend “shall be freely given when justice so requires,”44 “it is within the

sound discretion of the district court to grant or deny leave to amend.”45 “A district court has

discretion to deny leave for good reason, including futility, bad faith, undue delay, or undue prejudice

to the opposing party.”46

                Mr. Trump’s request is denied on two independent grounds. First, it is denied on the

ground that the proposed amendment would be futile. In the alternative, it is denied on the ground

that Mr. Trump delayed unduly in raising his presidential immunity defense and granting his request

would prejudice Ms. Carroll unfairly.



        Futility of Mr. Trump’s Proposed Amendment

                A motion for leave to amend an answer to assert an affirmative defense may be denied

as futile when the affirmative defense would be meritless.47 “In fact, it is unexceptional for federal

courts to deny leave to amend on the basis of futility where the proposed amended pleading would

not withstand a motion to dismiss.”48



        44

                Fed. R. Civ. P. 15(a).
        45

                McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184, 200 (2d Cir. 2007) (citation omitted).
        46

                Id.
        47

                Monahan v. New York City Dep’t of Corr., 214 F.3d 275, 283 (2d Cir. 2000); Quanta
                Specialty Lines Ins. Co. v. Investors Capital Corp., 403 F. App’x 530, 532–33 (2d
                Cir.2010); Fireman’s Fund Ins. Co. v. Krohn, No. 91-cv-3546 (PKL), 1993 WL 299268, at
                *3 (S.D.N.Y. Aug. 3, 1993) (citing cases).
        48

                Carroll v. Trump, 590 F. Supp. 3d 575, 579 (S.D.N.Y. 2022) (citing cases).
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                As noted above, the president is entitled to absolute immunity from liability in civil

damages lawsuits “for acts within the ‘outer perimeter’ of [the president’s] official responsibility.”49

The expansive scope of this immunity is based on “the special nature of the President’s constitutional

office and functions,” the president’s “discretionary responsibilities in a broad variety of areas, many

of them highly sensitive,” and the “difficult[y] [in] determin[ing] which of the President’s

innumerable ‘functions’ encompass[] a particular action.”50 Implicit in that statement of the scope

of presidential immunity, however, is the acknowledgment that there indeed is an “outer perimeter”

of the president’s official duties, and that the president is not immune from liability for acts outside

that perimeter. As the Supreme Court explained in Jones:

                        “The principal rationale for affording certain public servants immunity from

                suits for money damages arising out of their official acts is inapplicable to unofficial

                conduct. . . . As we explained in Fitzgerald, ‘the sphere of protected action must be

                related closely to the immunity’s justifying purposes.’ . . . Because of the President’s

                broad responsibilities, we recognized in that case an immunity from damages claims

                arising out of official acts extending to the ‘outer perimeter of his authority.’ . . . But

                we have never suggested that the President, or any other official, has an immunity

                that extends beyond the scope of any action taken in an official capacity.”

                        “Moreover, when defining the scope of an immunity for acts clearly taken

                within an official capacity, we have applied a functional approach. ‘Frequently our


        49

                Fitzgerald, 457 U.S. at 756.
        50

                Id.
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                                                                                                 22

               decisions have held that an official’s absolute immunity should extend only to acts

               in performance of particular functions of his office.’. . . As our opinions have made

               clear, immunities are grounded in ‘the nature of the function performed, not the

               identity of the actor who performed it.’”51

               Mr. Trump argues that he is entitled to absolute presidential immunity because he

“made the three alleged defamatory statements in direct response to Plaintiff’s allegations which

impugned his character and, in turn, threatened his ability to effectively govern the nation.”52 He

states that:

                       “As both the leader of the nation and head of the Executive Branch, [he]

               could not sit idly while a ‘media frenzy’ erupted around allegations that attempted

               to paint him as a rapist. Indeed, faced with this widely-reported, unprovoked attack

               on his character, the President had a duty to respond; at a minimum, this action was

               necessary to ‘maintain the continued trust and respect of [his] constituents’ and to

               ‘preserve his ability to carry out his [] responsibilities.’ . . . Thus, it cannot be

               reasonably disputed that [Mr. Trump’s] conduct was ‘presidential’ in nature because

               he was addressing an issue of grave public concern that weighed on the character and

               competency of the leader of the nation.”53

Mr. Trump accordingly contends that his responses to Ms. Carroll’s accusation “fell squarely within


        51

               520 U.S. at 692–95 (emphasis in original) (citations omitted).
        52

               Dkt 109 (Def. Mem.) at 17.
        53

               Id. (citations omitted).
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the ‘outer perimeter’ of [his] official duties as President.”54

                The fatal flaw in Mr. Trump’s reasoning is that he ignores the precise acts that are the

subject of this lawsuit. For the sake of argument, the Court assumes that, when Mr. Trump responded

to Ms. Carroll’s sexual assault accusation, he was addressing a matter of public concern because the

accusation “impugned his character and, in turn, threatened his ability to effectively govern the

nation.”55 It accepts also, for the sake of argument, that the president’s speech on a matter of public

concern comes within the president’s official responsibilities. These points, however, do not lead to

the conclusion that Mr. Trump’s statements in this case came within the outer perimeter of his

official duties as president. As Judge Mehta thoughtfully wrote in another case where Mr. Trump

asserted an absolute presidential immunity defense, an analysis with which this Court agrees:

                         “[T]o say that speaking on matters of public concern is a function of the

                presidency does not answer the question at hand: Were President Trump’s words in

                this case uttered in performance of official acts, or were his words expressed in some

                other, unofficial capacity? The President’s proposed test—that whenever and

                wherever a President speaks on a matter of public concern he is immune from civil

                suit—goes too far. It mirrors what the Supreme Court has said cannot be the basis for

                absolute immunity: ‘[T]o construct an immunity from suit for unofficial acts



        54

                Id. at 16.
        55

                Id. at 17. See Snyder v. Phelps, 562 U.S. 443, 453 (2011) (“Speech deals with matters of
                public concern when it can ‘be fairly considered as relating to any matter of political, social,
                or other concern to the community,’ . . . or when it ‘is a subject of legitimate news interest;
                that is, a subject of general interest and of value and concern to the public[.]’”) (citations
                omitted).
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     grounded purely in the identity of [the President’s] office is unsupported by

     precedent.’. . . And the Supreme Court has recognized different capacities in which

     the person occupying the Office of the President can act: ‘Presidents and other

     officials face a variety of demands on their time, . . . some private, some political,

     and some as a result of official duty.’. . . Thus, to say that the President spoke on a

     matter of public concern does not dispositively answer the question of whether he

     enjoys absolute immunity for such speech.

            “Consider some examples. At a rally promoting his reelection, an incumbent

     President touts his policy accomplishments and makes promises about a second term,

     but during his speech he instructs members of the crowd to ‘punch’ a protester ‘in the

     face right now.’ Or, take a President who speaks at a party fundraising event before

     a group of high-dollar donors, where he not only discusses pending legislation but

     also falsely and with malice accuses a political opponent who is blocking the

     legislation of running a child-trafficking operation. Or, consider a President who

     appears at a campaign event for a candidate of his party who is running for Congress,

     and during his remarks touts the candidate because his election will help advance his

     agenda, but also calls on the crowd to destroy property as a sign of support. In each

     of these scenarios, the conduct of the President comes in the context of words uttered

     on matters of public concern, but it is doubtful that anyone would consider the

     President immune from tort liability for harm resulting from his speech. To be sure,

     these scenarios may seem far-fetched, but they illustrate an important point: blanket

     immunity cannot shield a President from suit merely because his words touch on
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                matters of public concern. The context in which those words are spoken and what is

                said matter.”56

                The conduct at issue here consists not only of what Mr. Trump did (i.e., make public

statements in response to Ms. Carroll’s accusation) but also, and importantly, the content of his

statements (i.e., what he said in his statements). Mr. Trump did not merely deny Ms. Carroll’s

accusation of sexual assault. Instead, he accused Ms. Carroll of lying about him sexually assaulting

her in order to increase sales of her book, gain publicity, and/or carry out a political agenda. Even

assuming that the president’s decision publicly to deny an accusation of personal wrongdoing comes

within the outer perimeter of his official duties, it does not follow that the president’s own personal

attacks on his or her accuser equally fall within that boundary. Mr. Trump does not identify any

connection between the allegedly defamatory content of his statements – that Ms. Carroll fabricated

her sexual assault accusation and did so for financial and personal gain – to any official

responsibility of the president. Nor can the Court think of any possible connection.

                The justifying purposes of presidential immunity support this determination. The

fundamental purpose of presidential immunity is to avoid “diversion of [the president’s] energies”

and “distract[ing] a President from his [or her] public duties” by subjecting the president to “concern

with private lawsuits.”57 It is not a “get out of damages liability free” card that permits the president

to say or do anything he or she desires even if that conduct is disconnected entirely from an official

function. On the facts presented here, there is no concern that the president “would [be] subject ...

        56

                Thompson v. Trump, 590 F. Supp. 3d 46, 79–80 (D. D.C. 2022) (emphasis added) (citations
                omitted).
        57

                Fitzgerald, 457 U.S. at 751–53.
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                                                                                                         26

to trial on virtually every allegation that an action was unlawful, or was taken for a forbidden

purpose.”58 The question of whether presidential immunity applies in this case turns not on an

allegation that Mr. Trump acted unlawfully or made the statements with actual and common law

malice, but on whether the act itself – accusing an individual who has charged the president with a

personal wrongdoing of fabricating the charge for ulterior and improper purposes – is within the

outer perimeter of the president’s official responsibility.59 Subjecting the president to damages

liability for making a personal attack that is unrelated to the president’s official responsibilities

would not threaten to distract the president from his or her official duties.



       Undue Delay and Unfair Prejudice

               Leave to amend is denied also on the basis of undue delay, dilatory motive, bad faith

and/or prejudice to the opposing party.

                       “The rule in this Circuit has been to allow a party to amend its pleadings in

               the absence of a showing by the nonmovant of prejudice or bad faith. . . . However,

               ‘the longer the period of an unexplained delay, the less will be required of the

       58

               Id. at 756.
       59

               Mr. Trump compares this case to Barr v. Matteo, 360 U.S. 564 (1959), where the Supreme
               Court determined that the director of a federal agency was protected by an absolute privilege
               in a libel action brought by former employees based on a press release in which the director
               announced his intention to suspend the employees. The Court stated that “[t]e fact that the
               action here taken was within the outer perimeter of [the director’s] line of duty is enough
               to render the privilege applicable, despite the allegations of malice in the complaint.” Id.
               at 575. The decision in that case makes no difference to the analysis here. As noted above,
               the question of whether presidential immunity applies here does not require crediting Ms.
               Carroll’s allegation of malice or any consideration of Mr. Trump’s motives. His accusation
               against Ms. Carroll, which forms the basis of Ms. Carroll’s defamation claim, suffices to
               render his presidential immunity defense meritless.
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               nonmoving party in terms of a showing of prejudice.’ . . . In determining what

               constitutes ‘prejudice,’ we consider whether the assertion of the new claim would:

               (I) require the opponent to expend significant additional resources to conduct

               discovery and prepare for trial; (ii) significantly delay the resolution of the dispute;

               or (iii) prevent the plaintiff from bringing a timely action in another jurisdiction....

               ‘Mere delay, however, absent a showing of bad faith or undue prejudice, does not

               provide a basis for a district court to deny the right to amend.’”60

Mr. Trump’s three-year delay in raising his presidential immunity defense, for which he offers no

explanation, coupled with the unfair prejudice that would result from an amendment for this purpose

to Ms. Carroll, warrant denial of leave to amend.

               The Court has set forth in its prior opinions the record of Mr. Trump’s efforts to delay

both this case and Carroll II.61 Those details need not be repeated here. It suffices for present

purposes to note that the Court denied Mr. Trump’s prior request for leave to amend his answer in

January 2022. Mr. Trump then sought leave to amend to assert an affirmative defense and

counterclaim based on New York’s “anti-SLAPP” law and to argue that Ms. Carroll’s defamation


       60

               Block v. First Blood Assocs., 988 F.2d 344, 350 (2d Cir. 1993) (emphasis added) (citations
               omitted).
       61

               Carroll v. Trump, No. 22-CV-10016 (LAK), 2023 WL 2960061 (S.D.N.Y. Apr. 17, 2023)
               (denying Mr. Trump’s application for a month-long postponement of the trial of Carroll II);
               Carroll v. Trump, No. 22-CV-10016 (LAK), 2023 WL 2006312 (S.D.N.Y. Feb. 15, 2023)
               (denying Mr. Trump’s offer to provide a DNA sample in exchange for production by Ms.
               Carroll of an undisclosed appendix to a report examining the DNA found on the dress Ms.
               Carroll wore when she was assaulted); Carroll v. Trump, No. 20-CV-7311 (LAK), 2022 WL
               6897075 (S.D.N.Y. Oct. 12, 2022) (denying Mr. Trump’s motion to substitute the United
               States for him as the defendant and to stay the action); Carroll v. Trump, 590 F. Supp. 3d
               575 (S.D.N.Y. 2022) (denying Mr. Trump’s motion for leave to amend his answer).
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claim is baseless and intended for harassment. That motion was denied on two alternative grounds.

First, on the basis that the proposed amendment would be futile. Second, on the additional ground

that Mr. Trump’s motion was delayed unduly and made at least in part for a dilatory purpose. As the

Court explained:

                       “[D]efendant’s actions have been dilatory throughout the litigation. As [Ms.

               Carroll] aptly puts it, he ‘has slow-rolled his defenses, asserting or inventing a new

               one each time his prior effort to delay the case fails. . . . Taken together, these actions

               [(the history of defendant’s motions to stay and other litigation conduct)] demonstrate

               that defendant’s litigation tactics have had a dilatory effect and, indeed, strongly

               suggest that he is acting out of a strong desire to delay any opportunity plaintiff may

               have to present her case against him.”62

Since that decision was issued in March 2022, Mr. Trump’s conduct both in this case and in Carroll

II – as discussed in detail in my prior decisions and incorporated herein by reference – only has

corroborated the Court’s earlier hypothesis of his dilatory motive.

               These facts perhaps would suffice on their own to deny Mr. Trump’s request for leave

to amend. But the Court does not rely solely on them in denying the relief Mr. Trump seeks. The

unfair prejudice to Ms. Carroll if leave to amend were granted also is clear.

               The effect of granting leave, and thus relieving Mr. Trump of his prior waiver, even

assuming his absolute immunity defense were meritorious, would be the dismissal of this case. And,

to be sure, the dismissal, in and of itself, would not be unfair prejudice to Ms. Carroll because it



       62

               Carroll, 590 F. Supp. 3d at 588.
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                                                                                                     29

would reflect the fact that there was an insurmountable obstacle to her claim in the first place. But

such a dismissal cannot be considered in isolation. Ms. Carroll now has litigated this case for more

than three and a half years. She has completed discovery, engaged in extensive motion practice,

resisted the government’s attempt to defeat her claim before Court, the Second Circuit and the D.C.

Court of Appeals, and devoted untold hours and resources to pursuing her claim. And that weighs

very heavily in the analysis. For, if Mr. Trump’s absolute immunity argument were valid, his failure

to assert it at the outset of this lawsuit needlessly, unfairly, and inexcusably subjected Mr. Carroll

to all of those burdens. The undue delay in asserting the defense thus was inherently and unfairly

prejudicial even if this Court is mistaken in concluding that it is legally insufficient.

                Finally, there is the one more consideration. If Mr. Trump were granted leave to

amend and this Court were to reject his absolute immunity claim, the order doing so likely would

be appealable. No doubt Mr. Trump would appeal. And an appeal likely would cause “significant

additional delays in this litigation arising from a defense that Trump chose not to assert for the first

three years of the proceedings.”63 Were this Court’s rejection of his defense upheld on appeal, those

additional delays would further prejudice Ms. Carroll unfairly. She now is 79 years old and, as just

mentioned, has been litigating this case for more than three and a half years. There is no basis to risk

prolonging the resolution of this litigation further by permitting Mr. Trump to raise his absolute

immunity defense now at the eleventh hour when he could have done so years ago.

                For all these reasons, leave to amend would be unjustified.




        63

                Dkt 113 (Pl. Opp. Mem.) at15.
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Ground Two: Defamatory Per Se

               Mr. Trump’s remaining arguments concern the substance of his allegedly defamatory

statements. First, he argues that his statements were not defamatory per se. As this Court stated in

denying Mr. Trump’s motion to dismiss Ms. Carroll’s defamation claim in Carroll II on the same

basis:

                       “There are two categories of defamation under New York law: libel, for

               written statements, and slander, for spoken statements. Written statements actionable

               as libel include statements published on social media outlets and on the Internet....

                       “A written statement is libelous per se if it ‘tends to disparage a person in the

               way of his [or her] office profession or trade.’ A writing also is libelous per se if it

               ‘tends to expose a person to hatred, contempt or aversion, or to induce an evil or

               unsavory opinion of him [or her] in the minds of a substantial number of the

               community, even though it may impute no moral turpitude to him [or her].’ . . .

                       “Mr. Trump’s argument to dismiss this claim is premised on his mistaken

               conflation of the higher standard applied to slander per se with the lower standard for

               libel per se. Mr. Trump argues that there are ‘four narrowly defined categories of

               statements which are considered to be defamatory per se,’ and that Ms. Carroll has

               failed to state a claim for defamation per se ‘because it does not, on its face, defame

               [P]laintiff in her trade, business or profession,’ one of the four categories. However,

               nearly every authority Mr. Trump cites, including the case identifying those four

               categories and the cases describing the category of injury in one’s profession are

               slander per se, not libel, cases. Unlike a libelous per se statement, a slanderous per
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                se statement ‘must be made with reference to a matter of significance and importance

                for that purpose [(of defaming a person in his or her trade, business, or profession)],

                rather than a more general reflection upon the plaintiff’s character or qualities.’

                Moreover, if a complaint fails to allege sufficient facts to state a claim for slander per

                se, ‘the plaintiff must show . . . that the statement complained of caused him or her

                special harm” – generally “the loss of something having economic or pecuniary

                value.’ The more stringent standard for slander per se is grounded in sound logic:

                ‘What gives the sting to the writing is its permanence of form. The spoken word

                dissolves, but the written one abides and perpetuates the scandal.’”64

                Much of the same analysis applies to Mr. Trump’s argument with respect to his 2019

statements. Mr. Trump concedes that his June 21, 2019 statement, which he provided in written form

to his staff to distribute to the press, “can be considered under the libel per se standard.”65 His other

two statements similarly sound in libel rather than slander. “Where a defamatory statement is oral,

but is expected by the speaker to be reduced to writing and published, and is subsequently

communicated in written form, such statement constitutes a libel.”66 “A statement made to a person

known to be by the speaker to be a working newspaper reporter, for example, will be treated as libel,


        64

                Carroll v. Trump, No. 22-CV-10016 (LAK), 2023 WL 185507, at *10-11 (S.D.N.Y. Jan. 13,
                2023) (emphases and alterations in original).
        65

                Dkt 122 (Def. Reply Mem.) at 9.
        66

                Park Knoll Assocs. v. Schmidt, 89 A.D.2d 164, 168 (2d Dept. 1982), rev’d on other grounds,
                59 N.Y.2d 205 (1983) (citing ROBERT D. SACK, LIBEL AND SLANDER AND RELATED
                PROBLEMS § 2:3, p. 44)); see also Macineirghe v. Cnty. of Suffolk, No. 13-cv-1512
                (ADS)(SIL), 2015 WL 4459456, at *9 (E.D.N.Y. July 21, 2015).
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provided the statement is thereafter communicated in written form.”67 Mr. Trump made the other

two June 2019 statements to individuals he knew to be reporters. He does not argue that he did not

understand his remarks would be publicly reported in writing.68 All three of Mr. Trump’s June 2019

statements therefore properly are assessed under the libel per se standard.

               Ms. Carroll adequately has alleged that Mr. Trump’s statements are libelous per se.

As in his 2022 statement, in his 2019 statements – particularly in his first two statements issued on

June 21, 2019 and June 22, 2019, respectively – he accuses Ms. Carroll of making up a “totally false

accusation” “to sell a new book” and “for the sake of publicity.” As the Court wrote previously:

                       “Ms. Carroll is a ‘writer, advice columnist, and journalist.’ Honesty and

               credibility are critical to these professions, which rely heavily on the trust and

               confidence of their audiences. A writer who writes about his or her own experiences,

               as Ms. Carroll did, depends on his or her readers believing the writer, which they may

               be less inclined to if the writer is called dishonest. The October 12 statement – in

               addition to accusing Ms. Carroll of ‘completely ma[king] up a story’ about Mr.

               Trump – states that Ms. Carroll ‘changed her story from beginning to end’ during an

               interview ‘where she was promoting a . . . book.’ Drawing all reasonable inferences



       67

               ROBERT D. SACK, SACK ON DEFAMATION: LIBEL, SLANDER, AND RELATED PROBLEMS § 2:3
               (4th ed. 2011).
       68

               Indeed, with respect to the June 22, 2019 statement that Mr. Trump made to reporters before
               boarding Marine One, when Mr. Trump was asked during his deposition whether it is “fair
               to say that when [he] made comments while [he was] president on [his] way to somewhere
               . . . on [his] way to boarding Air Force One or Marine One that a transcript would be created
               like this [(transcript of the June 22, 2019 statement)] and released by [his] press office,” he
               responded “oftentimes.” Dkt 117-6 (Def. Dep.) at 64:4-10.
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               in favor of plaintiff, the October 12 statement on the whole can be construed as Ms.

               Carroll falsely accusing Mr. Trump of rape in order to promote her book and increase

               its sales. Based on the facts alleged in the complaint, Ms. Carroll has sufficiently

               pleaded a claim of libel per se because the October 12 statement may have affected

               her in her profession by ‘imputing to [her] . . . fraud, dishonesty, [and/or] misconduct

               . . . .’”69

               Similarly, Mr. Trump’s 2019 statements reasonably can be construed as tending to

disparage Ms. Carroll in the way of her profession and/or by exposing her to hatred, contempt or

aversion or inducing an evil or unsavory opinion of her in the minds of a substantial number of the

community. Mr. Trump’s contention that the statements “do not reference Plaintiff’s profession as

an advice columnist, nor do they touch upon Plaintiff’s ‘Ask E. Jean’ column” is inapposite to the

libel per se standard, which requires no such specific references.70 Nor was Ms. Carroll required to

plead special damages because she has sufficiently pleaded the elements of a libel per se claim. Mr.

Trump’s second argument to dismiss Ms. Carroll’s claim therefore is without merit.



Ground Three: Nonactionable Opinion

               Related also to the substance of his allegedly defamatory statements, Mr. Trump

argues that “nearly all of the content contained in the statements are immaterial since they constitute




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               Carroll, 2023 WL 185507, at *11 (emphases and alterations in original).
       70

               Dkt 122 (Def. Reply Mem.) at 9.
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protected opinion speech.”71 Specifically, he contends that “aside from [his] repudiation of

Plaintiff’s contention that he sexually assaulted her, the remainder of the language contained in the

alleged defamatory statements is protected opinion speech. Therefore, these statements are not

actionable as defamation.”72

               Statements of opinion are not actionable as defamation “however unreasonable the

opinion or vituperous the expressing of it may be.”73 “While it is clear that expressions of opinion

receive absolute constitutional protection . . . , determining whether a given statement expresses fact

or opinion may be difficult. The question is one of law for the court and one which must be answered

on the basis of what the average person hearing or reading the communication would take it to

mean.”74

               The New York Court of Appeals has identified three factors relevant to determining

whether an average person would understand a statement as conveying fact or opinion:

                        “‘(1) [W]hether the specific language in issue has a precise meaning which

               is readily understood; (2) whether the statements are capable of being proven true or

               false; and (3) whether either the full context of the communication in which the

               statement appears or the broader social context and surrounding circumstances are

               such as to signal . . . readers or listeners that what is being read or heard is likely to


       71

               Dkt 109 (Def. Mem.) at 30.
       72

               Id. at 33.
       73

               Hotchner v. Castillo-Puche, 551 F.2d 910, 913 (2d Cir. 1977).
       74

               Steinhilber v. Alphonse, 68 N.Y.2d 283, 290 (1986).
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                                                                                                    35

               be opinion, not fact[.]’”

                        “The third factor ‘lends both depth and difficulty to the analysis’ . . . , and

               requires that the court consider the content of the communication as a whole, its tone

               and apparent purpose. Thus, we have adopted a holistic approach to this inquiry.

               Rather than sifting through a communication for the purpose of isolating and

               identifying assertions of fact, the court should look to the over-all context in which

               the assertions were made and determine on that basis ‘whether the reasonable reader

               would have believed that the challenged statements were conveying facts about the

               . . . plaintiff.’”75

“The dispositive inquiry . . . is whether a reasonable [reader] could have concluded that [the

statements were] conveying facts about the plaintiff.”76

               Mr. Trump has not addressed the first and third factors. In any event, both weigh

against his position. Mr. Trump “used specific, easily understood language to communicate” that Ms.

Carroll made up a false story about Mr. Trump sexually assaulting her to increase sales of her book,

to get publicity, and/or for political reasons.77 Indeed, the third sentence of his June 21, 2019

statement makes plain his central message that “[s]he [(Ms. Carroll)] is trying to sell a new book –

that should indicate her motivation.” Considering each statement as a whole, there is nothing vague

or ambiguous about the statements that would make it difficult for an average reader to appreciate


       75

               Davis v. Boeheim, 24 N.Y.3d 262, 269–70 (2014) (citations omitted).
       76

               Id. (alterations in original) (internal quotation marks and citation omitted).
       77

               Id. at 271.
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their main point: that Ms. Carroll lied and her motives for lying.

               The contexts in which the statements were made also convey that they were assertions

of fact. The heading of the June 21, 2019 statement reads “Statement from President Donald J.

Trump” and was prepared by Mr. Trump to distribute to the press. The June 22, and June 24, 2019

statements were made to reporters, the former expected by Mr. Trump to be transcribed and released

by his press office and the latter made by Mr. Trump in the course of an exclusive interview with a

newspaper focused on political coverage. Unlike other contexts that courts have determined tended

to signal expressions of opinion, such as the Republican presidential primary debate or a character-

limited post on Twitter,78 the circumstances here indicate that Mr. Trump’s apparent purpose was

to state that Ms. Carroll falsely accused him of sexual assault for financial and/or personal gain as

a matter of fact, not as a matter of his personal belief or opinion.

               The only factor that Mr. Trump touches upon is the second, whether the statements

are capable of being proven true or false. Mr. Trump argues that his statements are “no more than

non-actionable opinions about Plaintiff’s state of mind and are not capable of being proven true or

false” and he “was merely opining on Plaintiff’s state of mind and motivations for coming forward

with her allegation, thus invalidating Plaintiff’s claims.”79 Courts have determined that statements

that an individual made a false accusation or lied for financial or for personal gain are capable of




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               Jacobus v. Trump, 51 N.Y.S.3d 330, 342 (N.Y. Sup. Ct. 2017), aff’d, 156 A.D.3d 452 (1st
               Dept. 2017).
       79

               Dkt 109 (Def. Mem.) at 33.
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being proven true or false.80 Importantly, Mr. Trump did not use speculative language in stating Ms.

Carroll’s motives for falsely accusing him of sexual assault. Instead, he stated “[s]hame on those

who make up false stories of assault to try to get publicity for themselves, or sell a book, or carry out

a political agenda” and “you can’t do that for the sake of publicity.” In another portion of his June

21, 2019 statement, he wrote “[t]he world should know what’s really going on” after requesting

anyone who “has information that the Democratic Party is working with Ms. Carroll” to notify Mr.

Trump and his staff. The specificity of Mr. Trump’s statements makes clear that he was not merely

guessing or speculating as to Ms. Carroll’s motive. Instead, he attributes to Ms. Carroll specific and

objectively verifiable motives for fabricating her sexual assault accusation.

                The cases Mr. Trump cites are inapposite. For example, “the loose and generalized

statement that [the plaintiffs who brought a sexual harassment lawsuit] ‘do not want to work’ or

‘hold jobs’ and simply ‘want to make easy money’ . . .”81 and the statement “I think he wanted me

to divorce him,”82 are a far cry from Mr. Trump’s clear and definite statement that Ms. Carroll “is


        80

                E.g., Mr. Chow of New York v. Ste. Jour Azur S.A., 759 F.2d 219, 225 n.4 (2d Cir. 1985) (“In
                Edwards, we distinguished the epithet ‘liar’ from the epithet ‘paid liar.’ We found that
                unlike calling someone a liar, charging someone with being a paid liar was an assertion of
                fact. We explained: ‘[T]o call the appellees, all of whom were university professors, paid
                liars clearly involves defamation that far exceeds the bounds of the prior controversy.... And,
                to say a scientist is paid to lie implies corruption, and not merely a poor opinion of his
                scientific integrity. Such a statement requires a factual basis....’”) (alteration in original)
                (quoting Edwards v. Nat’l Audubon Soc., Inc., 556 F.2d 113, 121 n.5 (2d Cir. 1977));
                Rinaldi v. Holt, Rinehart & Winston, Inc., 42 N.Y.2d 369, 382 (1977) (“The ordinary and
                average reader would likely understand the use of these words [(that the plaintiff is
                “probably corrupt”)], in the context of the entire article, as meaning that plaintiff had
                committed illegal and unethical actions.”).
        81

                Gentile v. Grand St. Med. Assocs., 79 A.D.3d 1351, 1353 (3d Dept. 2010).
        82

                Huggins v. Povitch, No. 131164/94, 1996 WL 515498, at *4 (N.Y. Sup. Ct. Apr. 19, 1996).
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trying to sell a new book–that should indicate her motivation,” among other assertions he made.

Although some courts have been reluctant to find statements concerning a “plaintiff’s frame of mind

and motivation” to be capable of being objectively verifiable,83 whether or not that is so is a case-

specific determination dependent on the specific statements at issue and the other factors relevant

to this analysis. Here, although there perhaps was a subjective component to Mr. Trump’s statements

that Ms. Carroll was trying to increase sales of her book and gain publicity, in these circumstances,

her “state of mind is a fact question [susceptible to proof] the same as any other fact.”84

               All three factors therefore weigh in favor of a determination that Mr. Trump’s

statements were factual assertions rather than expressions of opinion.85


       83

               E.g., Treppel v. Biovail Corp., No. 03-cv-3002 (PKL), 2004 WL 2339759, at *14 (S.D.N.Y.
               Oct. 15, 2004), on reconsideration, 2005 WL 427538 (S.D.N.Y. Feb. 22, 2005); Coleman
               v. Grand, 523 F. Supp. 3d 244, 264 (E.D.N.Y. 2021).

               In Immuno AG. v. Moor-Jankowski, the New York Court of Appeals stated that
               “[s]peculations as to the motivations and potential future consequences of proposed conduct
               generally are not readily verifiable, and are therefore intrinsically unsuited as a foundation
               for libel.” 74 N.Y.2d 548, 560 (1989). The court’s judgment was vacated, 497 U.S. 1021
               (1990), and that statement did not appear again in the court’s opinion on remand. 77 N.Y.2d
               235 (1991). Notably, the original opinion cited to Rinaldi v. Holt (cited above, supra n. 80).
               In Rinaldi, however, Judge Gabrielli wrote in his dissent: “[a]s the majority quite properly
               observes, the charge that plaintiff is ‘probably corrupt’ is a statement of fact and not an
               expression of opinion,” and in a footnote to that statement, he wrote “[a] charge of
               corruption goes essentially to the motive behind an individual’s acts. As one court has noted,
               ‘(t)he state of a man’s mind is as much a fact as the state of his digestion’ (Edgington v.
               Fritzmaurice, 29 Ch.D. 459, 483 (CA)).” 42 N.Y.2d at 954 & n.1. It therefore is possible
               that some of the modern case law on whether a statement as to an individual’s state of mind
               is objectively verifiable is based in part on a misconstruction of the precedents on this issue.
       84

               Am. Acad. of Religion v. Napolitano, 573 F.3d 115, 134 (2d Cir. 2009) (quoting In re Air
               Disaster at Lockerbie Scotland on Dec. 21, 1988, 37 F.3d 804, 838 (2d Cir.1994) (Van
               Graafeiland, J., dissenting)).
       85

               Neither party addresses specifically Mr. Trump’s June 24, 2019 statement, in which he said
               only: “I’ll say it with great respect: Number one, she’s not my type. Number two, it never
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Ground Four: Consent

               Mr. Trump contends also that Ms. Carroll’s claim is barred because she consented

to Mr. Trump’s allegedly defamatory statements. Under New York law, “[c]onsent is a bar to a

recovery for defamation under the general principle of volenti non fit injuria or, as it is sometimes

put, the plaintiff’s consent to the publication of the defamation confers an absolute immunity or an

absolute privilege upon the defendant[.].”86 “Decisions of New York’s intermediate appellate courts

have established that the consent of the person defamed to the making of a defamatory statement bars

that person from suing for the defamation, and that, in some circumstances, a person’s intentional

eliciting of a statement she expects will be defamatory can constitute her consent to the making of

the statement.”87 As the Second Circuit has stated:

                       “The contours and purposes of the rule are somewhat illuminated by the

               Restatement (Second) of Torts (1977), which in defamation cases has been cited with

               approval by the highest court of New York. . . . Section 583 of the Restatement

               provides, ‘Except as stated in § 584, the consent of another to the publication of

               defamatory matter concerning him is a complete defense to his action for


               happened. It never happened, OK?”. In her complaint, Ms. Carroll alleges that all three June
               2019 statements were defamatory. However, as stated above, the crux of Ms. Carroll’s
               defamation claim lies in Mr. Trump’s statements that Ms. Carroll lied for financial and/or
               personal gain. Indeed, Mr. Trump appears to ground his argument that “the majority” of his
               statements are nonactionable opinion on the assumption that Ms. Carroll does not allege his
               “general repudiation of Plaintiff’s allegations” in itself was defamatory. Dkt 109 (Def.
               Mem.) at 32. As the parties have not adequately addressed this point, the Court does not
               now decide it.
       86

               Teichner v. Bellan, 7 A.D.2d 247, 251 (4th Dept. 1959).
       87

               Sleepy’s LLC v. Select Comfort Wholesale Corp., 779 F.3d 191, 199 (2d Cir. 2015) (citing
               cases).
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               defamation.’ Comment d to this Section says, ‘It is not necessary that the other know

               that the matter to the publication of which he consents is defamatory in character. It

               is enough that . . . he has reason to know that it may be defamatory.’ As an

               illustration, the Restatement notes that a summarily discharged school teacher who

               ‘demands that the reason for his dismissal be made public . . . has consented to the

               publication [of the reason] though it turns out to be defamatory.’ Restatement

               (Second) of Torts § 583 cmt. d (1977).”88

The Reporter’s Note to Section 583 of the Restatement provides that “[t]he plaintiff’s consent is a

defense even though he procures the publication for the purpose of decoying the defendant into a

lawsuit.”89 The Restatement states also that:

                       “[c]onsent means that the person concerned is in fact willing for the conduct

               of another to occur. Normally this willingness is manifested directly to the other by

               words or acts that are intended to indicate that it exists. It need not, however, be so

               manifested by words or by affirmative action. It may equally be manifested by silence

               or inaction, if the circumstances or other evidence indicate that the silence or inaction

               is intended to give consent. Even without a manifestation, consent may be proved by

               any competent evidence to exist in fact, and when so proved it is as effective as if

               manifested.”90


       88

               Id. (alteration in original) (citations omitted).
       89

               WILLIAM L. PROSSER AND JOHN W. WADE, RESTATEMENT (SECOND) OF TORTS § 583 (1977).
       90

               Id. § 892, Comment b (1979) (emphasis added).
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                Mr. Trump argues that Ms. Carroll consented to Mr. Trump’s allegedly defamatory

remarks because she (1) “purposefully chose to publish her account in New York Magazine to garner

as much attention as possible” and (2) “waited 27 years to publicly raise her allegations, a time when

Defendant was the sitting President of the United States,” leaving him “with no choice but to defend

himself against th[e] heinous allegations.”91 Neither of these points demonstrates that Ms. Carroll

had any reason to expect Mr. Trump to make statements that would be defamatory. Indeed, Mr.

Trump’s argument amounts to suggesting that any time an individual comes forward with an

accusation of wrongdoing against a public official, that person thereby consents to the official stating

anything he or she wishes in response, no matter how calumnious. As Ms. Carroll aptly states,

“[w]hen a survivor of sexual assault makes the choice to speak up, that choice does not constitute

consent to whatever defamatory lies their abuser may unleash in response.”92

                The only evidence that Ms. Carroll possibly “had reason to anticipate that [Mr.

Trump’s] response [to her accusation] might be a defamatory one”93 – which Mr. Trump entirely

ignores – comes from her own words in the excerpt of her book published in New York Magazine:

                        “Why haven't I ‘come forward’ before now?

                        “Receiving death threats, being driven from my home, being dismissed, being

                dragged through the mud, and joining the 15 women who’ve come forward with

                credible stories about how the man [(Mr. Trump)] grabbed, badgered, belittled,


        91

                Dkt 109 (Def. Mem.) at 29-30.
        92

                Dkt 113 (Pl. Opp. Mem.) at 31.
        93

                Handlin v. Burkhart, 220 A.D.2d 559, 559 (2d Dept. 1995).
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                mauled, molested, and assaulted them, only to see the man turn it around, deny,

                threaten, and attack them, never sounded like much fun. Also, I am a coward.”94

It nevertheless fails to establish consent. First, as observed by another court in this circuit, “[a]

review of case law indicates that the type of consent accepted as a complete[] defense to a

defamation action is specific consent, typically initiated by the plaintiff, which clearly indicates that

the plaintiff was aware of and agreed to the possibility that defamatory statements might be

published.”95 Ms. Carroll’s generalized concern that she might be subject to the same attacks that

other women, as she stated, have experienced after coming forward with their accusations against

Mr. Trump does not demonstrate her awareness of and agreement to the possibility that Mr. Trump

might defame her in response to her specific accusation of sexual assault and rape.

                Second, there is no evidence to suggest that Ms. Carroll had reason to know the type

or content of a public statement, if any, Mr. Trump might make in response to her accusation, let

alone that she agreed to it. “Implicit in the concept of consent is the conception that the consenting

party have the power to control the publication. Thus, there can be no finding of consent where, as

here, there is no effective control over the dissemination of the defamatory material.”96 Indeed, when

asked in her deposition how she expected Mr. Trump would react to her sexual assault accusation,


        94

                E. Jean Carroll, Hideous Men: Donald Trump assaulted me in a Bergdorf Goodman
                dressing room 23 years ago. But he’s not alone on the list of awful men in my life, THE CUT,
                NEW YORK MAGAZINE, Jun. 21, 2019, https://www.thecut.com/2019/06/donald-trump
                -assault-e-jean-carroll-other-hideous-men.html.
        95

                McNamee v. Clemens, 762 F. Supp. 2d 584, 604–05 (E.D.N.Y. 2011) (emphasis added)
                (citing cases).
        96

                Van-Go Transp. Co. v. New York City Bd. of Educ., 971 F. Supp. 90, 104 (E.D.N.Y. 1997).
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Ms. Carroll testified that:

                        “I didn’t think he would deny it. I thought he would just say it didn’t happen

                that way. She agreed to it or it was consensual sex. . . . I just was shocked that he

                absolutely denied it because he was there and he denied it. That’s what gets me every

                time. He was there, he denied it.97

She testified also that she “ha[s] no idea” if she would have sued Mr. Trump if he had instead said

that it was consensual sex because “it would have been him saying yeah, it happened and then we

could have disagreed and then I could have vehemently said no, I did not consent.”98

                Drawing all factual inferences in favor of Ms. Carroll, as the Court must on this

motion for summary judgment, Ms. Carroll’s testimony makes clear that any generalized concern

Ms. Carroll harbored based on Mr. Trump’s “den[ials], threat[s], and attack[s]” against his other

accusers did not translate to her consenting to the possibility the same would occur with her.99



Punitive Damages

                Lastly, Mr. Trump argues that Ms. Carroll’s punitive damages claim should be

dismissed because she cannot demonstrate that Mr. Trump acted with common law malice.

                “Punitive damages may only be assessed under New York law if the plaintiff has


        97

                Dkt 116-1 (Pl. Dep.) at 166:2-6, 167:3-7.
        98

                Id. at 166:9-15.
        99

                In the alternative, there at least is a genuine issue of material fact based on the evidence as
                to whether Ms. Carroll consented to Mr. Trump’s allegedly defamatory statements,
                precluding dismissal as a matter of law on summary judgment.
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established common law malice in addition to the other elements of libel. . . . To do so, plaintiffs

must prove by a preponderance of the evidence that the libelous statements were made out of ‘hatred,

ill will, [or] spite.’”100 The Appellate Division, First Department, one of New York’s intermediate

appellate courts, has “held that a triable issue of common-law malice is raised only if a reasonable

jury could find that the speaker was solely motivated by a desire to injure plaintiff, and that there

must be some evidence that the animus was ‘the one and only cause for the publication.’”101

“Common law malice is established by examining all of the relevant circumstances surrounding the

dispute, including any rivalries and earlier disputes between the parties so long as they are not too

remote.”102

               Mr. Trump contends that his “statements could not have been ‘motivated by a desire

to injure plaintiff’” because “they were strictly made in Defendant’s own defense.”103 His argument

merely presents his characterization of his own conduct, which of course is favorable to him. He fails



       100

               Celle v. Filipino Rep. Enterprises Inc., 209 F.3d 163, 184 (2d Cir. 2000).
       101

                Morsette v. “The Final Call”, 309 A.D.2d 249, 255 (1st Dept. 2003) (emphasis in original)
               (citation omitted).
       102

               Celle, 209 F.3d at 185.
       103

               Dkt 109 (Def. Mem.) at 34 (quoting Morsette, 309 A.D. at 255).

               In passing, Mr. Trump raises also the point that “[i]ndeed, in these types of circumstances,
               New York courts have recognized a qualified privilege of reply when accused of charges of
               unlawful activity.” Id. at 34 (citing cases). First, his argument arguably has been waived
               because it was not raised in his answer and is “adverted to in a perfunctory manner,
               unaccompanied by some effort at developed argumentation.” United States v. Botti, 711
               F.3d 299, 313 (2d Cir. 2013). In any event, any such claim of a qualified privilege – as with
               his main argument against punitive damages – depends on weighing the evidence of Mr.
               Trump’s motives for making the allegedly defamatory statements.
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to address any of the relevant evidence, including, for example, his deposition testimony with respect

to the circumstances in which he made the statements and whether he ever read the New York

magazine article or Ms. Carroll’s book that contain her sexual assault accusation.

                  Furthermore, it is relevant – although not dispositive – that the jury in Carroll II in

fact awarded punitive damages to Ms. Carroll for her defamation claim for Mr. Trump’s 2022

statement, which as discussed above substantially is similar to Mr. Trump’s statements in this case.

To do so, the jury was required to find and did find that Ms. Carroll proved (1) Mr. Trump knew it

was false or acted in reckless disregard of its truth or falsity when he made the statement accusing

Ms. Carroll of lying about her sexual assault accusation to promote her book (actual malice) and (2)

Mr. Trump made the statement with deliberate intent to injure or out of hatred, ill will, or spite or

with willful, wanton or reckless disregard of another’s rights (common law malice). This outcome

undermines Mr. Trump’s argument that the same result is impossible in this closely related case.

                  In all the circumstances, Mr. Trump has failed to establish that there is not a genuine

issue of material fact as to whether the prerequisites to a punitive damages award in this case have

been satisfied.
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                 For the foregoing reasons, Mr. Trump's motion for summary judgment dismissing the

complaint (Dkt 107) and his alternative request for leave to amend his answer to assert the absolute

presidential immunity <lcfo'.nsc are denied.

                 SO ORDERED.

Dated:           June 29, 2023
Corrected:       July 5, 2023
